                          Case 4:13-cr-00223-DPM Document 35 Filed 06/17/14 Page 1 of 4

A014SR        ilk"''. 09/11 )Judgll'kmt in a Criminal <'rulo:
              Sheet I

                                                                                                                                    JON 17 2014
                                               UNITED STATES DISTRICT COURT :~es~
                                                                  Eastern District of Arkansas
                                                                                                                                               DE     L   K
             UNITED STATES OF AMERICA                                         ~        JUDGMENT IN A CRIMINAL CASE
                                      v.                                      }
                        Carlos Galvez.Jovel                                   )
                                                                              )        Case Number: 4:13-cr-223-DPM-2
                                                                              )        USM Number: 11648..042
                                                                              )
                                                                              )

THE DEFENDANT:
Itpleaded guilty to count(s)               three of the Indictment.
0 pleaded nolo contendere to count(s)
   which was accepted by the ~ourt.
0 was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Tille & Section                      Nature of Offense                                                              Offense Ended

18 U.S.C. § 1791(a)(2)                 Possession of a prohibited object in prison,
                                       a Class D Felony                                                              4/3/2013              3



       The defendant is sentenced as provided in pages 2 through                   4           of this judgment The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
0 The defendant has been found not guilt} on count(s)
OCount(s)                                                       D is   0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name. residence,
or mailing address until all fmes. restitution. costs, and special assessments imposed by this judgment are fully paid. if ordered to pay restitution.
the deferKlant must notify the court and United States attorney of material changes in economtc circumstances.

                                                                               6/1312014
                                                                              i>atc "r lmpositi.ml•f J.iJg,m."'lt




                                                                               D.P. Marshall Jr.
                                                                              Nnme aild Titic llfJud!!-C
                            Case 4:13-cr-00223-DPM Document 35 Filed 06/17/14 Page 2 of 4

AO 24SB       (Rev. 09/11) Judgment in Criminal Cast~
              Sheet 2 -lntpl'isooment
                                                                                                   Judgment -· Pngc _____ _! . _ of      4
                                                                                                                                      -------
DEFENDANT: Carlos Galvez~Jovel
CASE NUMBER: 4:13-cr-223-DPM-2


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 Twelve months and one day, consecutive to the sentence Galvez-Jove! is currently serving in Eastern District of Virginia case
 No. 1:11CR502.



     0 The court makes the following recommendations to the Bureau of Prisons:




     if The defendant is remanded to the custody of the United Stutes Marshal.
     0 The defendant shall surrender to the United States Marshal for this district:
          0 at                                          0 a.m.     0   p.m.     on
                       --·-----
          0 as notified by the United States Marshal.
     0 The defendant shall surrender for service of sentence at the institution designated by I he Bureau of Prisons:
          0     before 2 p.m. on          ______ _
          0     as notif'ted by the United States MarshaL
          0 as notified by the Probation or Pretrial Services Oflicc.


                                                                       RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 a                                                       . with a certified copy ofthisjudgment.




                                                                              By
                        Case 4:13-cr-00223-DPM Document 35 Filed 06/17/14 Page 3 of 4
AO 24$0   (Rev. 09/J I) JudJmr;:nl in a Criminal CI!Sle
          Sheet S-Criminal Monetary Penalties
                                                                                                              Judgment -- Pa~     3      or
DEFENDANT:           cartos Galvez..Jovel
CASE NUMBER: 4:13-cr-223-0PM-2
                                                   CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assnsment                                                                                    Restitution
TOTALS            s 100.00

0   The determination of restitution is deferred until                        . An Amended Judgmem in a Criminal Case tAO J.J5C; will be entered
    after such determination.

0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment. unless s~citied otherwise in
    the prioritY. order or percentage payment column below. Howevt:r. pursuant to 18 U.S.C. § 3664(i). all nonfederal victims must be paid
    before tbe United States is patd.

                                                                                Iotal Lw*           Restitution Ordered         ~riorjty or Percentaee




TOTALS                                 $                              0.00        s                      0.00


0    Restitution amount ordered pursuant to plea agreement $

0    The defendant must pay interest on restitution and a fine of more than $2,.500, unless the restitution or tine is paid in full before the
     fifteenth day after the date of the judgment. pursuant to 18 U.S.C. § 36l2(f). All of the payment options on Sheet 6may bt subject
     to penalties for delinquency and default. pursuant to IS U.S.C. § 3612(g).

0    The coun determined that the defendant docs not have the ability to pay interest and it is ordered that:
     D the interest requirement is waived for the                    0 fine    0 restitution.
     0 the interest requirement for the                   0   fine    0 restitution is modified as follows:


• Findings for the total amount oflossesarerequired under Chapters 109A, 110, I lOA, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
                        Case 4:13-cr-00223-DPM Document 35 Filed 06/17/14 Page 4 of 4
AO 2450    (Rev. 09/11) Judgment ina Criminal Case
           Sheet 6- St1u:dule of Payments
                                                                                                                                4_ of
                                                                                                               Judgmcnl-l'ugc ___                        4
DEFENDANT: Carlos Galvez-Jove!
CASE NUMBER: 4:13-cr~223-DPM-2

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     rJ Lump sum payment of$ 100.00                            due immediately, balance due

           D      not later than        -0                           . or
           0      in accordance               C,     0 0,       0      E. or     D F below; or
B     D Payment to begin immediately (may be combined with                     0 C.       0 D, or      0 F below); or
C     0    Payment in equal ___                      (e.g.. w.:ekly. momltly. £Jum·ter~vl installmenl<> of $                       over a period of
                           (e.g., months or years), to commence         . ·- ____ (e g., 3fJ or 6(} days) after the date of this judgment; or

D     0    Payment in equal ___ "--·            (e.g .. week(v mont illy, quarter{v) installments of $          ...... ··--· ··- .. - over a period of
          _. _ · - - (e.g., months or year.~), to commence                          (e.g.. 30 or 60tlaysl after release from imprisonment to a
           tem1 of supervision; or
 E    0    Payment during the term of supervised release wi II commence within                (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    0    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetarv penalties is due during
 imprisonment. All cnminal monetary penalties, except those pavments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.          •

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including df!}imdant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.                                     ·




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s);

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal. (3) restitution interest. (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs. including cost of prosecution and court costs.
